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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

ABDULLAH RABBAT,
                                                      Case Number 6:17-cv-278-Orl-28KRS
       Plaintiff,

v.

COVINGTON SPECIALTY INSURANCE
COMPANY,

      Defendant.
______________________________________/

COVINGTON SPECIALTY INSURANCE
COMPANY,

       Third Party Plaintiff,

v.

ORANGE COUNTY SHERIFF’S OFFICE,

      Third Party Defendant.
______________________________________/

                    Certificate of Interested Persons and Corporate Dislcosure
                       Statement by Orange County Sheriff Jerry Demings

       Third Party Defendant, Jerry Demings, in his official capacity as Sheriff of Orange

County, Florida (incorrectly identified as “Orange County Sheriff’s Office”) hereby discloses the

following pursuant to this Court’s Order interested persons order:

        1.       The name of each person, attorney, association of persons, firm, law firm,
partnership, and corporation that has or may have an interest in a party to this action or in the
outcome of this action, including subsidiaries, conglomerates, affiliates, parent corporations,
publicly-traded companies that own 10% or more of a party’s stock, and all other identifiable
legal entities related to a party:

       Abdullah Rabbat, Plaintiff
       Covington Specialty Insurance Company, Defendant/Third Party Plaintiff
       Sheriff Jerry Demings, Third Party Defendant
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       2.      The name of every other entity whose publicly-traded stock, equity, or debt may
be substantially affected by the outcome of the proceedings:

       None.

       3.      The name of every other entity which is likely to be an active participant in the
proceedings, including the debtor and members of the creditors’ committee (or if no creditors’
committee the 20 largest unsecured creditors):

       None.

      4.       The name of each victim (individual and corporate), including every person who
may be entitled to restitution:

       None.

       5.      Check one of the following:

        __X__ a. I certify that I am unaware of any actual or potential conflict of interest
involving the District Judge and Magistrate Judge assigned to this case and will immediately
notify the Court in writing upon learning of any such conflict.

       ______b. I certify that I am aware of a conflict or basis of recusal of the District Judge or
Magistrate Judge as follows: (explain)

       Dated October 26, 2017

                                       Certificate of Service

        I certify that on this 13th day of October, 2017, I electronically filed this document with
the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to
the following:

Counsel for Plaintiff
Yemil Aragon, Esq., Asher Perlin, Esq., Florida Professional Law Group, PLLC, 4600 Sheridan
Street, Suite 303, Hollywood, Florida 33021; yaragon@flplg.com; eservice@flplg.com;
aperlin@flplg.com

Counsel for Covington Specialty Insurance Company
William R. Lewis, Esq., Christopher M. Ramey, Esq., Butler, Weihmuller, Katz, Craig, LLP, 400
N. Ashley Drive, Suite 2300, Tampa, Florida 33602; wlewis@butler.legal; cramey@butler.legal;
eservice@butler.legal

                                              /s/ Ian Forsythe
                                              Ian D. Forsythe, Esquire
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                                  Florida Bar Number 054925
                                  Hilyard, Bogan & Palmer, P.A.
                                  Post Office Box 4973
                                  Orlando, Florida 32802-4973
                                  Telephone (407) 425-4251
                                  Iforsythe@hilyardlawfirm.com
                                  khoagland@hilyardlawfirm.com
                                  Attorneys for Third Party Defendant
